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        EXHIBIT E
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March 18, 2015

Via Email (john.croteau@macom.com) and Overnight Mail

Mr. John Croteau
President & Chief Executive Officer
M/A-COM Technology Solutions Holdings, Inc.
100 Chelmsford Street
Lowell, MA 01851

Re:    Frank Traut and Thomas Winslow

Dear John:

I am writing to express concern about the conduct of two former employees of Analog Devices,
Inc. (“Analog”), Frank Traut and Thomas Winslow, who now work for M/A-COM Technology
Solutions Holdings, Inc. (“M/A-COM”). Just prior to each of their resignations from Analog,
Messrs. Traut and Winslow each secretly downloaded confidential information about Analog’s
products onto removable storage devices in violation of Analog’s policies. Neither Traut nor
Winslow had any legitimate business reason for taking these actions. Our network security
technology logged all of the material downloaded, and we have a detailed list of the information
taken. Based on this information, we believe that our confidential, proprietary design schematics
and other detailed secret product information are now in at least Mr. Winslow’s possession.

As a result of this action, we have concerns that Mr. Winslow may inevitably disclose Analog’s
confidential, proprietary and trade secret information to M/A-COM. Notwithstanding this fact,
we are requesting that you assist us in ensuring these individuals do not misuse Analog’s
confidential information.

We have informed each of Messrs. Traut and Winslow that Analog plans to take any and all
actions that are necessary to protect our legal rights and secure the return of the confidential
information, including petitioning a court for injunctive relief. We cannot overstate how
seriously we consider this matter, and to that end, we are consulting with law enforcement about
rights that may be available to us.

If Messrs. Traut and Winslow do not address Analog’s concerns and meet the demands listed
below, Analog will have no choice but to file suit against these two individuals. In that event,
there is a strong possibility that M/A-COM will be made a party to the litigation since the only
logical reason for both individuals to misappropriate confidential information about Analog’s
products is to use the data for the benefit of their new employer. M/A-COM’s cooperation in
helping to achieve an informal resolution to this problem, therefore, is in everyone’s best
interest. We have asked Messrs. Traut and Winslow to provide to us, no later than the close of
business on March 19, 2015, a written statement in which each confirms the following:
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        1.       That each has deleted or otherwise permanently destroyed all of Analog’s
confidential information (and all copies thereof in whatever format), including, without
limitation, all of the content each copied onto the removable storage drives.

     2.     That each has not transferred or otherwise disclosed to a third party, including
M/A-Com, any of Analog’s confidential information.

       3.    That each has not used Analog’s confidential information for any purpose since
accepting employment with M/A-COM or since the date of their respective resignations from
employment with Analog.

      4.     That each will abide by their non-disclosure and confidentiality obligations to
Analog going forward as set out in the Employment Agreement each signed as a condition of
employment.



For reasons I am sure you will understand, I am also requesting that M/A-COM provide a sworn
statement to me, no later than March 24, 2015, confirming that Messrs. Traut and Winslow have
not transferred or disclosed Analog’s confidential information to M/A-COM, and, further, that
M/A-COM has taken steps to ensure (including a detailed description of the steps that the
company has taken) that Messrs. Traut and Winslow will not use Analog’s confidential
information for M/A-COM’s benefit.

We trust that you share our concern regarding the seriousness of this matter, and look forward to
a prompt resolution. I look forward to hearing from you in the very near term.

Very truly yours,




Margaret K. Seif
Senior Vice President, General Counsel and Secretary


cc:    Kevin P. Lanouette, Esq.
